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Case 3:18-cv-00225-RLY-MPB Document 1-3 Filed 11/29/18 Page 3 of 13 PageID #: 109
Case 3:18-cv-00225-RLY-MPB Document 1-3 Filed 11/29/18 Page 4 of 13 PageID #: 110
Case 3:18-cv-00225-RLY-MPB Document 1-3 Filed 11/29/18 Page 5 of 13 PageID #: 111
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             EXHIBIT 15
                                                                        Filed: 11/28/2018 6:16 PM
Case 3:18-cv-00225-RLY-MPB Document 1-3 Filed 11/29/18 Page 7 of 13 PageID  #:  113Circuit Court
                                                                             Dubois
                                                                                             Dubois County, Indiana




   STATE OF INDIANA             )           IN THE DUBOIS CIRCUIT COURT
                                ) SS:
   COUNTY OF DUBOIS             )           CAUSE NO. 19C01-1810-PL-000730

                                     )
   MEMORIAL HOSPITAL AND HEALTH CARE )
   CENTER,                           )
                                     )
         Plaintiff,                  )
                                     )
   v.                                )
                                     )
   HOUSTON INTERNATIONAL INSURANCE   )
   GROUP, HIIG ACCIDENT & HEALTH,    )
   GREAT MIDWEST INSURANCE COMPANY, )
   and WEBTPA,                       )
                                     )
         Defendants.

                E-FILING APPEARANCE BY ATTORNEY IN CIVIL CASE

  1.    The party on whose behalf this form is being filed is:

        Initiating _   Responding X      Intervening _____; and

        the undersigned attorney and all attorneys listed on this form now appear in this case for
        the following parties: Defendants Houston International Insurance Group, HIIG Accident
        & Health, and Great Midwest Insurance Company

  2.    Attorney information for service as required by Trial Rule 5(B)(2):

         Sally Franklin Zweig, No. 11367-49                  KATZ KORIN CUNNINGHAM PC
         Kristopher N. Kazmierczak, No. 19430-49             334 North Senate Avenue
         szweig@kkclegal.com                                 Indianapolis, Indiana 46204-1708
         kkaz@kkclegal.com                                   Telephone No.: 317-464-1100
                                                             Fax No.: 317-464-1111

        IMPORTANT: Each attorney specified on this appearance:

        (a)      certifies that the contact information listed for him/her on the Indiana Supreme
                 Court Roll of Attorneys is current and accurate as of the date of this Appearance;
        (b)      acknowledges that all orders, opinions, and notices from the court in this
                 matter that are served under Trial Rule 86(G) will be sent to the attorney at
                 the email address(es) specified by the attorney on the Roll of Attorneys
                 regardless of the contact information listed above for the attorney; and
        (c)      understands that he/she is solely responsible for keeping his/her Roll of Attorneys
Case 3:18-cv-00225-RLY-MPB Document 1-3 Filed 11/29/18 Page 8 of 13 PageID #: 114
Case 3:18-cv-00225-RLY-MPB Document 1-3 Filed 11/29/18 Page 9 of 13 PageID #: 115



                                  CERTIFICATE OF SERVICE

         I hereby certify that on this 28th day of November, 2018, I electronically filed the foregoing
  with the Clerk of the Court using the Indiana E-Filing System (“IEFS”) and that the foregoing
  document was served upon the following persons using the service contacts entered in the IEFS:
  N. Kent Smith                                             ksmith@hallrender.com
  Andrew B. Howk                                            ahowk@hallrender.com
  HALL, RENDER, KILLIAN, HEATH & LYMAN,
  P.C.

  Theodore Blanford                                         tblanford@humesmith.com
  Mark Michael Holdridge                                    mholdridge@humesmith.com
  HUME SMITH GEDDES GREEN AND
  SIMMONS, LLP




                                                    s/Kristopher N. Kazmierczak
                                                    Kristopher N. Kazmierczak


  Sally Franklin Zweig
  Kristopher N. Kazmierczak
  KATZ KORIN CUNNINGHAM, PC
  334 North Senate Avenue
  Indianapolis, IN 46204
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  szweig@kkclegal.com
  kkaz@kkclegal.com




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Case 3:18-cv-00225-RLY-MPB Document 1-3 Filed 11/29/18 Page 10 of 13 PageID #: 116




             EXHIBIT 16
                                                                        Filed: 11/28/2018 6:16 PM
Case 3:18-cv-00225-RLY-MPB Document 1-3 Filed 11/29/18 Page 11 of 13 PageID  #: 117Circuit Court
                                                                             Dubois
                                                                                             Dubois County, Indiana




   STATE OF INDIANA              )            IN THE DUBOIS CIRCUIT COURT
                                 ) SS:
   COUNTY OF DUBOIS              )            CAUSE NO. 19C01-1810-PL-000730

                                     )
   MEMORIAL HOSPITAL AND HEALTH CARE )
   CENTER,                           )
                                     )
         Plaintiff,                  )
                                     )
   v.                                )
                                     )
   HOUSTON INTERNATIONAL INSURANCE   )
   GROUP, HIIG ACCIDENT & HEALTH,    )
   GREAT MIDWEST INSURANCE COMPANY, )
   and WEBTPA,                       )
                                     )
         Defendants.


          DEFENDANTS HOUSTON INTERNATIONAL INSURANCE GROUP,
    HIIG ACCIDENT & HEALTH, AND GREAT MIDWEST INSURANCE COMPANY’S
       UNOPPOSED MOTION FOR ENLARGEMENT OF TIME TO ANSWER OR
              OTHERWISE RESPOND TO PLAINTIFF’S COMPLAINT

         Defendants Houston International Insurance Group, HIIG Accident & Health, and Great

  Midwest Insurance Company (collectively, “Defendants”) respectfully move for an enlargement

  of time of thirty (30) days up to and including December 26, 2018 in which to answer or otherwise

  respond to Plaintiff’s Complaint, and in support of this Motion state:

         1.      Plaintiff’s Complaint was filed on October 29, 2018.

         2.      Undersigned counsel was recently retained to represent Defendants and is in need

  of additional time to perform due diligence, investigate and respond to the Complaint.

         3.      Defendants' counsel from Houston, Texas, Blaire Johnson, contacted Plaintiff’s

  counsel, and Plaintiff’s counsel have no objection to a thirty (30) day enlargement of time to and

  including December 26, 2018 to respond to the Complaint.
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         WHEREFORE, Defendants Houston International Insurance Group, HIIG Accident &

  Health, and Great Midwest Insurance Company respectfully request the Court to enter an order

  granting an enlargement of time, up to and including December 26, 2018, in which to answer or

  otherwise respond to Plaintiff’s Complaint, and for all other relief that is just and proper in the

  premises.

         Dated: November 28, 2018.

                                               Respectfully submitted,

                                               s/Kristopher N. Kazmierczak
                                               Sally Franklin Zweig, No. 11367-49
                                               Kristopher N. Kazmierczak, No. 19430-49
                                               KATZ KORIN CUNNINGHAM, PC
                                               334 North Senate Avenue
                                               Indianapolis, IN 46204
                                               Office: (317) 464-1100; Fax: (317) 464-1111
                                               szweig@kkclegal.com
                                               kkaz@kkclegal.com

                                               Attorneys for Defendants Houston International
                                               Insurance Group, HIIG Accident & Health, and
                                               Great Midwest Insurance Company




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Case 3:18-cv-00225-RLY-MPB Document 1-3 Filed 11/29/18 Page 13 of 13 PageID #: 119



                                  CERTIFICATE OF SERVICE

         I hereby certify that on this 28th day of November, 2018, I electronically filed the foregoing
  with the Clerk of the Court using the Indiana E-Filing System (“IEFS”) and that the foregoing
  document was served upon the following persons using the service contacts entered in the IEFS:
  N. Kent Smith                                             ksmith@hallrender.com
  Andrew B. Howk                                            ahowk@hallrender.com
  HALL, RENDER, KILLIAN, HEATH & LYMAN,
  P.C.

  Theodore Blanford                                         tblanford@humesmith.com
  Mark Michael Holdridge                                    mholdridge@humesmith.com
  HUME SMITH GEDDES GREEN AND
  SIMMONS, LLP




                                                    s/Kristopher N. Kazmierczak
                                                    Kristopher N. Kazmierczak


  Sally Franklin Zweig
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